Case 1:20-cv-02512-JPH-MJD Document 1 Filed 09/29/20 Page 1 of 5 PageID #: 1




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

CIRCLE BLOCK PARTNERS, LLC and,     )
CIRCLE BLOCK HOTEL, LLC             )
                                    )
            Plaintiffs,             )
                                    )               Case No. 1:20-cv-2512-______
      vs.                           )
                                    )
FIREMAN’S FUND INSURANCE,           )
COMPANY,                            )
                                    )
            Defendant.              )
____________________________________)

                                   NOTICE OF REMOVAL

       Defendant Fireman’s Fund Insurance Company (“Fireman’s Fund”), pursuant to

28 U.S.C. § 1441 and § 1446, hereby files its Notice of Removal of civil action to the United

States District Court for the Southern District of Indiana, Indianapolis Division, from the

Superior Court of Marion County, Indiana, and respectfully states:

       1.      Fireman’s Fund is the only named Defendant in an action now pending in the

Superior Court of Marion County, Indiana, Cause No. 49D12-2009-PL-030666, styled Circle

Block Partners, LLC and Circle Block Hotel, LLC v. Fireman’s Fund Insurance Company (the

“State Court Action”). The State Court Action was initiated by the Plaintiffs filing a Complaint

seeking declaratory judgment and damages for an alleged breach of contract on September 4,

2020, with service thereafter initiated by certified mail. Fireman’s Fund first received a copy of

the Complaint and Summons on September 9, 2020. This notice is therefore timely pursuant to

28 U.S.C. § 1446(b)(2).

       2.      Appendix A includes a copy of all process, pleadings and orders served on

Fireman’s Fund in the State Court Action.



                                                1
Case 1:20-cv-02512-JPH-MJD Document 1 Filed 09/29/20 Page 2 of 5 PageID #: 2




                                DIVERSITY OF CITIZENSHIP

       3.      Plaintiff Circle Block Hotel, LLC is a Delaware limited liability company with its

principal place of business in Indiana. Its sole member is Plaintiff Circle Block Partners, LLC, an

Indiana limited liability company with its principal place of business in Indiana. The sole

member of Circle Block Partners, LLC is Circle Block Investor, LLC, an Indiana limited liability

company with its principal place of business in Indiana. The members of Circle Block Investor,

LLC are four natural persons, Alan Kite, Paul Kite, John Kite, and Thomas McGowan, who

reside in Indiana. Thus, for purposes of diversity, Plaintiffs are considered citizens of Delaware

and Indiana.

       4.      Fireman’s Fund is a California corporation with its principal place of business in

Illinois. Thus, for purposes of diversity, Fireman’s Fund is a citizen of California and Illinois.

       5.      The controversy in this action is therefore entirely between citizens of different

states of the United States.

                                AMOUNT IN CONTROVERSY

       6.      Plaintiffs allege that they own and operate the Conrad Hotel in downtown

Indianapolis. They allege that they purchased a property insurance policy from Fireman’s Fund

that provides up to $104 million in coverage for property loss or damage and $12.25 million in

coverage for “business interruption losses and extra expenses related to a slowdown or cessation

of operations at the Conrad” as well as other coverages with limits in excess of $1 million.

See Original Complaint, Dkt 1-1 ¶ 1, 3, 42.

       7.      Plaintiffs allege that they have suffered significant harm as a result of COVID-19,

which they allege is covered by the insurance policy purchased from Fireman’s Fund. Id. ¶¶ 3-4.

       8.      Plaintiffs further allege that they presented a demand for indemnity to Fireman’s

Fund, which was denied. Id. ¶ 90.


                                                  2
Case 1:20-cv-02512-JPH-MJD Document 1 Filed 09/29/20 Page 3 of 5 PageID #: 3




       9.      Based on these facts, Plaintiffs bring two counts. First, they seek a declaration that

Fireman’s Fund is obligated to pay for Circle Block’s alleged losses up to the limits of the

policy, which exceed $100 million. Id. ¶¶ 93-98. And, second, Plaintiff seek damages for what

they allege is a breach of the policy by Fireman’s Fund. Id. ¶¶ 99-106.

       10.     The law governing coverage stemming from commercial property insurance

policies is well settled in Indiana. Morris v. Econ. Fire & Cas. Co., 848 N.E.2d 663, 665–66

(Ind. 2006) (“Generally, the interpretation of an insurance policy presents a question of law . . .

subject to the same rules of interpretation as are other contracts.”); Hartford Cas. Ins. Co. v.

Evansville Vanderburgh Pub. Library, 860 N.E.2d 636, 646 (Ind. Ct. App. 2007) (“In simplistic

terms, the process is such: if the insuring clause does not extend coverage, one need look no

further.” (citation omitted)); Ports of Indiana v. Lexington Ins. Co., 1:09-CV-0854-TWP-MJD,

2011 WL 5523419, at *9 (S.D. Ind. Nov. 14, 2011) (insured bears initial burden to show a

covered loss; proof of “direct physical loss or damage” to the covered property is needed under

standard all-risk policy “in order to trigger coverage”).

       11.     Although Fireman’s Fund denies any liability to Plaintiffs, it is apparent based on

the claims asserted in this case (as more fully described in Plaintiffs’ Complaint at Dkt. 1-1), the

multi-million dollar limits of the insurance policy at issue, and the relief sought by Plaintiffs that

the amount in controversy exceeds the sum or value of $75,000 exclusive of interest and costs.

See, e.g., Dart Cherokee Basin Operating Co., LLC v. Owens, 574 U.S. 81, 89 (2014)

(defendant’s notice of removal must state only a “plausible allegation” that the amount in

controversy exceeds jurisdictional limits).

                                          CONCLUSION

       12.     This is a civil action between citizens of different states, with complete diversity,

where the matter in controversy exceeds the sum or value of $75,000, exclusive of interest and


                                                  3
Case 1:20-cv-02512-JPH-MJD Document 1 Filed 09/29/20 Page 4 of 5 PageID #: 4




costs, of which the United States District Courts have original jurisdiction pursuant to 28 U.S.C.

§ 1332. Accordingly, this entire action may be removed pursuant to 28 U.S.C. § 1441.

       13.     Upon receiving a file-marked copy of this Notice of Removal, Fireman’s Fund

will serve a file-marked copy of this Notice of Removal upon counsel for Plaintiffs and file a

copy of this Notice of Removal with the Clerk of the Superior Court of Marion County, Indiana.

       ACCORDINGLY, Defendant Fireman’s Fund Insurance Company respectfully requests

that the State Court Action pending in Superior Court of Marion County, Indiana be removed

therefrom in its entirety to this Court, as provided by law, and pursuant to 28 U.S.C. § 1446(d),

that the Superior Court of Marion County, Indiana proceed no further unless and until this case is

remanded.

Dated: September 29, 2020                           Respectfully submitted,

                                                    KIGHTLINGER & GRAY, LLP

                                                    s/ John B. Drummy
                                                    John B. Drummy
                                                    One Indiana Square, Suite 300
                                                    211 North Pennsylvania Street
                                                    Indianapolis, Indiana 46204
                                                    (317) 638-4521
                                                    jdrummy@k-glaw.com

                                                    Attorneys for Defendant Fireman’s Fund
                                                    Insurance Company

OF COUNSEL:

DLA PIPER LLP (US)

Brett Ingerman
pro hac vice application forthcoming
6225 Smith Avenue
Baltimore, Maryland 21209-3600
(410) 580-4177
brett.ingerman@us.dlapiper.com

and


                                                4
Case 1:20-cv-02512-JPH-MJD Document 1 Filed 09/29/20 Page 5 of 5 PageID #: 5




Brett Solberg
pro hac vice application forthcoming
1000 Louisiana Suite 2800
Houston, Texas 77002
(713) 425-8482
brett.solberg@us.dlapiper.com

                                CERTIFICATE OF SERVICE

        I certify that a copy of the forgoing was served by First Class Mail and email on counsel
of record this September 29, 2020, to:

       Robert D. MacGill
       Matthew T. Ciulla
       MacGill PC
       55 Monument Circle, Suite 1200C
       Indianapolis, IN 46204
       robert.macgill@macgilllaw.com
       matthew.ciulla@macgillaw.com


                                             s/ John B. Drummy
                                             John B. Drummy




                                                5
